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AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

Civil Action No. 16-2307 (CRC)

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 ())

This summons for (name of as and title, if any) Cu / | (ep CESS ( pit b, [ 5 amd 4 / efPCr.
€ +

 

was received by me on (date)

© I personally served the summons on the individual at (place)

 

 

on (date) ; or
ae a
I left the summons at the individual’s residence or usual place of abode with (name) thoy: 7 [ ¥¢
1S ‘ , a person of suitable age and discretion who resides there,
on (date) 3 /p 2 / ael7__° and mailed a copy to the individual’s last known address; or
Ciloo #—~
C I served the summons on (ndme of individual) , who is

 

designated by law to accept service of process on behalf of (name of organization)
on (date) 5 or

 

 

I returned the summons unexecuted because ; or

 

Other (specify):

 

My fees are $ S100 for travel and$ —~ for services, for a total of $ 9-00~ 165760
I declare under penalty of perjury that this information is true.
Date: 3/23 [2017 7
\ “T \ Server's signature

“hecl Gleau!

Printed name and title

 

#2424 Below (or hz rood. Davos,

Server's address

Additional information regarding attempted service, etc:
